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                             UNITED     STATES   DISTRICT      COURT
                               DISTRICT OF MASSACHUSETTS


OPTUM,        INC.   and OPTUM SERVICES,
Inc. ,
         Plaintiffs,

                 V                                         C.A.       No.    19-10101-MLW


DAVID WILLIAM SMITH,
         Defendant.


                                              ORDER


    WOLF,       D.J.                                                        February 22,    2019

         For the reasons described in detail in court on February 22,

2019,     i t is hereby ORDERED that:

         1.      Plaintiffs'     Optum,       Inc.'s    and     Optum       Services,    Inc.'s

Motion for Temporary Restraining Order (Docket No. 3) is DENIED.

         2.      Defendant      David    Smith's      Motion     to    Compel     Arbitration

(Docket No. 16) is ALLOWED. The parties shall select an arbitrator

promptly.

         3.      This case is STAYED. If the parties agree to a resolution

to their dispute,             they shall promptly inform the court and this

case     will        be   dismissed.     If   and   when   the    arbitrator        issues       a


decision,        the      party that    did not       prevail    shall       promptly    report

whether i t or he intends to appeal the decision to this court.                                 If

i t or he does not,           this case will be dismissed.




                                                      UNITED    STATES       DISTRICT   JUDGE
